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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA

Hawkes Co., Inc., Pierce Investment               )     Court File No. __(___/___)
Company, and LPF Properties, LLC,                 )
                                                  )
       Plaintiffs,                                )        COMPLAINT FOR
                                                  )      DECLARATORY AND
       v.                                         )      INJUNCTIVE RELIEF
                                                  )
UNITED STATES ARMY CORPS OF                       )
ENGINEERS,                                        )
                                                  )
       Defendant.

       Plaintiffs Hawkes Co., Inc., Pierce Investment Company, and LPF Properties,

LLC, for their Complaint seeking declaratory and injunctive relief allege as follows:

                                   INTRODUCTION

       1.     In this action, the Plaintiffs seek review pursuant to the Administrative

Procedure Act (“APA”), 5 U.S.C. §551, et seq., of a final agency action of the United

States Army Corps of Engineers (the “Corps”), finding that certain property in which the

Plaintiffs have an ownership or other beneficial interest (the “Property”) is a water of the

United States under the Federal Water Pollution Control Act, 33 U.S.C. §1251, et seq.,

known as the Clean Water Act (“CWA”), and therefore subject to the Corps’ jurisdiction.

       2.      As a result of the Corps’ unlawful assertion of jurisdiction, Plaintiffs are

unable to use the Property without fear of a CWA enforcement action, fines, and

penalties. The Corps’ improper assertion of jurisdiction also subjects Plaintiffs to an

unlawful and burdensome permitting requirement.




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       3.      Plaintiffs seek by this action a declaration that the Property is not a water of

the United States under the CWA. Plaintiffs also seek an injunction enjoining the Corps

from exercising jurisdiction over Plaintiffs’ Property.

       4.      The Court’s review of the agency action that is the subject of this

proceeding is based upon the administrative record before the Corps at the time the Corps

made its decision.

                               JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. §1331 (federal question jurisdiction); 28 U.S.C. §2201 (authorizing declaratory

relief); 28 U.S.C. §2202 (authorizing further “necessary or proper relief”); and 5 U.S.C.

§702 (providing for judicial review of agency action under the APA).

       6.      The Property consists of approximately 530 acres of real estate located in

New Maine Township, Marshall County, Minnesota. Venue in this judicial district is

proper under 28 U.S.C. §1931(e)(2) because the Property that is the subject of the action

is located within this district.

                                          PARTIES

       7.      Plaintiffs Pierce Investment Company (“Pierce Investment”), a Minnesota

corporation with its principal place of business in Minnesota, and LPF Properties, LLC

(“LPF Properties”), a North Dakota limited liability company with its principal place of

business in North Dakota, each own portions of the Property.

       8.      Plaintiff Hawkes Co., Inc, (“Hawkes”) is a North Dakota corporation with

its principal place of business in North Dakota. Hawkes will pay royalties to the owners


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of the Property in consideration of its use of the Property to expand Hawkes’ existing

nearby peat mining operations to the Property.

       9.     All three plaintiffs are owned by the same four or five members of the

Pierce family, and Kevin Pierce is an officer of all three plaintiffs and has been acting on

their behalf in these proceedings.

       10.    Defendant United States Army Corps of Engineers is a branch of the

Department of the Army and an agency of the United States.

                                LEGAL BACKGROUND

       11.    In 1972, Congress enacted the CWA to regulate “navigable waters.”

       12.    Section 301(a) of the CWA, 33 U.S.C. §1311(a), prohibits the unpermitted

discharge of dredged and fill material into “navigable waters.”

       13.    Section 502(7) of the CWA, id. §1362(7), defines “navigable waters” to

mean the “waters of the United States, including the territorial seas.”

       14.    Section 404 of the CWA, 33 U.S.C. §1344, authorizes the Secretary of the

Army, through the Corps, to issue permits for the discharge of dredged and fill material

into “navigable waters.”

       15.    By regulation, the Corps may determine whether a particular parcel of

property contains “waters of the United States” by issuing an Approved Jurisdictional

Determination (“JD”). 33 C.F.R. §§320.1(a)(6), 331.2.

       16.    The Corps has promulgated regulations defining “waters of the United

States.” Id. §328.




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       17.    Under those regulations, navigable waters, interstate waters, intrastate

waters with uses that could affect interstate or foreign commerce, impoundments of

waters, tributaries of waters, territorial seas, and wetlands adjacent to other waters that

are not themselves wetlands, are considered “waters of the United States.” See id.

§328.3.

       18.    In 2001, the United States Supreme Court, in Solid Waste Agency of

Northern Cook County v. United States Army Corps of Engineers (“SWANCC”), 531

U.S. 159 (2001), held that isolated, intrastate, non-navigable bodies of water are not

“waters of the United States.”

       19.    In response to the SWANCC opinion, the Corps, along with the United

States Environmental Protection Agency (“EPA”), issued an Advance Notice of Proposed

Rulemaking on the Clean Water Act Regulatory Definition of “Waters of the United

States,” seeking comment on whether and how the agencies should amend the definition

of the term in order to account for the Supreme Court’s decision. 68 Fed. Reg. 1991 (Jan.

15, 2003).

       20.    The Corps did not follow through with the rulemaking.

       21.    Notwithstanding SWANCC, the Corps and EPA continued to interpret their

authority under the CWA to extend to waterbodies and wetlands so long as these features

had at least a “hydrological connection” to navigable-in-fact waterbodies. See, e.g.,

United States v. Rapanos, 376 F.3d 629, 638 (6th Cir. 2004), vacated, remanded by

Rapanos v. United States, 547 U.S. 715 (2006).




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        22.   In Rapanos v. United States, the Supreme Court rejected the agencies’

hydrological connection theory of CWA jurisdiction. See 547 U.S. at 739 (plurality

opinion); id. at 780-82 (Kennedy, J., concurring in the judgment).

        23.   In that decision, Justice Scalia authored a plurality opinion, joined by three

other Justices, which concluded that the Corps’ jurisdiction over non-navigable waters

only extends to “relatively permanent, standing or continuously flowing bodies of water”

that are “connected to traditional interstate navigable waters.” Id. at 739, 742 (plurality

opinion). In addition, wetlands adjacent to such jurisdictional waters will qualify as

jurisdictional when “the wetland has a continuous surface connection with that water,

making it difficult to determine where the ‘water’ ends and the ‘wetland’ begins.” Id. at

742.

        24.   Justice Kennedy concurred in the judgment but adopted a broader

interpretation of the Corps’ jurisdiction over non-navigable waters, finding them

jurisdictional if they “possess a ‘significant nexus’ to waters that are or were navigable in

fact or that could reasonably be so made.” Rapanos, 547 U.S. at 759 (Kennedy, J.,

concurring in the judgment). According to Justice Kennedy, a significant nexus exists

where non-navigable waters, either alone or in combination with similarly situated

waterbodies, “significantly affect the chemical, physical, and biological integrity” of

navigable-in-fact waters (also known as “traditional navigable waters”). Id. at 780. The

Eighth Circuit Court of Appeals recognizes both the plurality opinion and Justice

Kennedy’s significant nexus test as supporting CWA jurisdiction over wetlands. United

States v. Bailey, 571 F.3d 791 (8th Cir. 2009).


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       25.    After Rapanos, the Corps, in conjunction with EPA, issued a non-binding

guidance document opining on the scope of the agencies’ CWA jurisdiction. See Clean

Water Act Jurisdiction Following the U.S. Supreme Court’s Decision in Rapanos v.

United States & Carabell v. United States (Dec. 2, 2008). In that guidance document, the

Corps and EPA assert their intention to exercise jurisdiction over “waters of the United

States” that satisfy either the Scalia “relatively permanent” test or the Kennedy

“significant nexus” test.

       26.    In April, 2011, the Corps and EPA issued a new draft guidance document,

but it has not yet been finalized. See Draft Guidance on Identifying Waters Protected by

the Clean Water Act (2011). In that guidance document, the Corps and EPA state their

intention to continue to assert jurisdiction over “waters of the United States” that satisfy

either the Scalia or the Kennedy test. The document also notes the agencies’ intention to

engage in APA rulemaking after finalizing the new guidance.

                              FACTUAL ALLEGATIONS

                                      The Property

       27.    The Property contains peat and, as such, is necessarily wetland. All peat

mining occurs in wetlands because peat is only found in wetland environments. Thus

peat mining is known as a “wetland dependent” activity and, in Minnesota, peat mining

and wetland replacement and restoration associated with peat mining are regulated under

permits issued by the Minnesota Department of Natural Resources.

       28.    The Plaintiffs’ Property is located over 120 river miles from the nearest

traditional navigable water (“TNW”), the Red River of the North.


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       29.    There is no significant connection between Plaintiffs’ Property and the Red

River of the North located 120 river miles away. There is no significant chemical,

physical or biological impact on, or connection between, the wetlands on Plaintiffs’

Property and the Red River of the North.

       30.    There is no continuous surface connection between wetlands on Plaintiffs’

Property and a water of the United States, such that it is difficult to determine where the

water ends and the wetland begins. A farm, a separate, shallow ditch dug for farming

purposes in an area the Corps concedes is upland at the border of the farm most distant

from Plaintiffs’ Property, and a sizable upland area are all located between Plaintiffs’

Property and the area that the Corps claims is a “relatively permanent water.” In other

words, the wetlands on Plaintiffs’ Property are easily distinguishable from any

jurisdictional water.

       31.    The wetlands on Plaintiffs’ Property are not “waters of the United States”

and in the two years that the Corps has had to establish that there is a significant nexus

between the Red River of the North and Plaintiffs’ Property, there is no information in

the administrative record to support any such significant nexus.

  Administrative Proceedings Before the Corps and Plaintiffs’ Exhaustion of their
                            Administrative Remedies

       32.    On or about December 13, 2010, Hawkes applied for a permit from the

Corps under Section 404 of the CWA to expand its existing peat mining operations to a

portion of the Property.




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       33.    On or about March 15, 2011, the Corps issued a letter to Hawkes indicating

the Corps had made a “preliminary determination that this wetland is a water of the

United States and is regulated by the Corps under Section 404 of the Clean Water Act.”

See Exhibit A.        The Corps’ letter went on to assert that “at a minimum” an

environmental assessment will be required.

       34.    On or about August 25, 2011, the Corps sent another letter to Hawkes with

a list of nine additional information items that would be needed in connection with the

permit application.    These included hydrological assessments of the wetland and of

groundwater flow spatially and vertically, functional resource assessments including

vegetation surveys, inventorying and analyzing the quality of wetlands in the entire

watershed, evaluation of upstream potential impacts, and more. See Exhibit B.

       35.    Faced with these overly burdensome demands by the Corps and disagreeing

with the Corps’ preliminary determination of jurisdiction, Plaintiffs requested

information on the basis for this determination.

       36.    On November 8, 2011, the Corps provided Plaintiffs with a copy of a

“draft” Jurisdictional Determination (the “draft JD”) for the Property. The draft JD

reflected a conclusion that the Property was connected by a Relatively Permanent Water

(“RPW”)—a series of culverts and unnamed streams which flowed into the Middle

River—to a TNW (the Red River) and the Property was, therefore, subject to the Corps’

jurisdiction under the CWA. The draft JD did not determine that there was a signficant

nexus between the Property and any navigable waters.




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          37.   On December 1, 2011, Corps representatives conducted a site visit of the

Property for the purpose of making a jurisdictional determination.

          38.   By correspondence dated December 19, 2011, Plaintiffs, through their

wetland consultant, identified numerous errors in the draft JD and provided the Corps

with additional information to be considered in connection with its jurisdictional

determination. This information showed that there was, in fact, no RPW that connected

the Property to a TNW.

          39.   On or about February 7, 2012, Defendant issued an Approved Jurisdictional

Determination (the “Initial JD”), concluding that there was a significant nexus between

the Property and the Red River and accordingly, the Property was a “water of the United

States” subject to the Corps’ jurisdiction under the CWA.

          40.   On or about April 4, 2012, Plaintiffs filed a timely appeal of the JD under

33 C.F.R. §331.6 setting forth the reasons why the Property is not a water of the United

States.

          41.   On or about April 23, 2012, the Regulatory Appeals Review Officer sent

Plaintiffs’ consultant a letter indicating that the appeal was appropriate for consideration

by the administrative appeals program and the Corps then provided the administrative

record to the Review Officer.

          42.   The parties presented their oral arguments before the Review Officer on

July 24, 2012, and an Administrative Appeal Decision was issued on October 24, 2012,

finding that the appeal had merit and that the administrative record “[did] not contain

sufficient documentation/analysis to support a finding of Clean Water Act jurisdiction.”


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See Exhibit C. In support of that conclusion, the Administrative Appeal Decision noted,

among other things:

             “The [Administrative Record] does not contain data supporting flow

               regime, volume, duration, or frequency from the wetlands to the river.

               Additionally, the District states that indicators of the transport of energy,

               materials, and nutrients were observed during a site visit, but there is no

               quantitative date [sic] given to support the finding.” (footnote omitted)

             “While the [Administrative Record] provides information indicating an

               OHW [i.e., “ordinary high water”] mark for the unnamed tributary exists, it

               does not provide sufficient evidence to establish a significant nexus that the

               number of flow events, volume, duration, and frequency of water flowing

               through the tributary are such that it has an appreciable effect on the

               TNW.” (footnote omitted)

             “The [Administrative Record] included a description of the stream channel

               riparian corridor from the unnamed tributary to the TNW. However, the

               water flow regime information was not sufficient to indicate that a

               significant nexus exists.” (footnote omitted)

      43.      Following remand, on or about December 31, 2012, the Corps issued a

revised JD (the “Revised JD”) and advised that the Revised JD is a “final Corps permit

decision in accordance with 33 C.F.R. §331.10.” According to 33 C.F.R. §331.21,

Plaintiffs are considered to have exhausted their administrative remedies when a final

decision is made pursuant to 33 C.F.R. §331.10.

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       44.    The Revised JD does not contain any new information to support a

significant nexus between the Property and the Red River of the North. However, the

Revised JD still purportedly relies on Justice Kennedy’s “significant nexus” test to assert

jurisdiction over the Property, which is described by the Revised JD as a “Non-Relatively

Permanent [Water] that flow[s] directly or indirectly into [a] Traditional Navigable

[Water].”

       45.    The Revised JD does not add any new information that would demonstrate

how Plaintiffs’ land, either quantitatively or qualitatively, significantly affects the

physical, biological, and chemical integrity of the Red River of the North located 120

river miles from the property. Even though the Corps has had two years to establish

jurisdiction, its Revised JD, like the Initial JD, speaks only to the overall functions

provided by wetlands in general and stream headwaters in general and, as the Review

Officer found, it does “not speak to how the specific onsite wetland and tributaries have a

significant nexus that is more than speculative or insubstantial on the chemical, physical

or biological integrity of the downstream TNW.”

               Applicable Tests for Exercise of Jurisdiction Under the CWA

       46.    The controlling tests for defining “waters of the United States” are Justice

Scalia’s plurality opinion in Rapanos v. United States and Justice Kennedy’s significant

nexus test.

       47.    The Revised JD does not meet either applicable test for assertion of

jurisdiction under the CWA.




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       48.     First, the Revised JD does not meet Justice Scalia’s “relatively permanent”

test because there is no substantial evidence that Property contains any “relatively

permanent, standing or continuously flowing bod[y] of water” that is connected to a

jurisdictional water such that one cannot distinguish tell where the wetlands on Plaintiffs’

Property end and the alleged jurisdictional water begins. Rapanos, 547 U.S. at 739

(plurality opinion). Upland area clearly separates the two locations.

       49.     Second, the Revised JD does not meet Justice Kennedy’s “significant

nexus” test.    No substantial evidence supports the Revised JD’s conclusion that a

significant nexus exists between the Property and the Red River of the North. The

Revised JD does not establish a significant nexus because there is no new evidence in the

Revised JD to determine the qualitative or quantitative effect on the Red River of the

North. Such evidence is necessary to distinguish between a jurisdictional significant

nexus and a non-jurisdictional insignificant nexus as indicated by the Corps’ own Review

Officer.

       50.     Since no substantial evidence exists to support the Revised JD’s conclusion

that a significant nexus exists between the Property and the Red River of the North, the

JD impermissibly assumes, contrary to Justice Kennedy’s concurring opinion in Rapanos,

that a non-speculative effect is necessarily a significant effect.

       51.     Plaintiffs’ Property is not subject to the CWA because it does not contain

any “waters of the United States.” Therefore, the Revised JD is arbitrary and capricious,

contrary to law, and unsupported by substantial evidence. See 5 U.S.C. §706(2).




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                      FIRST CLAIM FOR RELIEF -- INJUNCTIVE RELIEF

       52.    Plaintiffs hereby reallege and incorporate by reference the allegations

contained in all preceding paragraphs as though fully set forth herein.

       53.    Plaintiffs wish to conduct their business activities on the Property that the

Corps wrongfully claims to be subject to its CWA permitting authority.

       54.    Plaintiffs are and will continue to be directly affected and injured by the

Corps’ expansive and unlawful assertion of CWA jurisdiction over their Property.

       55.    The Corps’ Revised JD imposes significant injury on Plaintiffs by

preventing them from using their Property as they wish without risking an enforcement

proceeding, fines, and penalties. The Corps’ Revised JD also imposes on Plaintiffs the

illegal, burdensome, and expensive requirement that they obtain a Section 404 CWA

permit in order to conduct their peat mining activities. As a result, Plaintiffs’ use of their

property has been, is being—and unless the Court grants relief—will continue to be

adversely affected. Hence, the Corps’ unlawful exercise of jurisdiction causes Plaintiff

irreparable injury.

       56.    Setting aside the Corps’ Revised JD will redress Plaintiffs’ injuries by

allowing Plaintiffs to use their property.

       57.    Plaintiffs have no plain, speedy, and adequate remedy at law. Absent

judicial intervention, Plaintiff will continue to suffer irreparable injury.

       58.    The Corps’ Revised JD is a final agency action subject to judicial review

under the APA. See 5 U.S.C. §702; 33 C.F.R. §320.1(a)(6).




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       59.    Accordingly, injunctive relief enjoining the Corps from exercising

jurisdiction under the CWA is appropriate.

         SECOND CLAIM FOR RELIEF -- DECLARATORY JUDGMENT

       60.    Plaintiffs hereby reallege and incorporate by reference the allegations

contained in all preceding paragraphs as though fully set forth herein.

       61.    An actual and substantial controversy exists between Plaintiffs and the

Corps over the Corps’ failure to comply with the CWA in determining that Plaintiffs’

Property contains a jurisdictional waterbody.

       62.    Plaintiffs contend that their Property contains no jurisdictional waterbodies,

whereas the Corps, through its Revised JD, contends that it does. The Corps has had two

years to develop information supporting its allegations of jurisdiction, there is a complete

administrative record on which the Revised JD was made, and any further administrative

proceedings before the Corps would be futile. Therefore, no further factual development

is necessary to resolve the legal issues raised by this action.

       63.    The Corps’ Revised JD is a final agency action subject to judicial review

under the APA. See 5 U.S.C. §702; 33 C.F.R. §§320.1(a)(6) & 331.21.

       64.    The case is currently justiciable because the Corps has unlawfully asserted

jurisdiction over Plaintiffs’ Property.

       65.    Plaintiffs are currently and continuously injured by the Corps’ unlawful

exercise of jurisdiction because the existence of the Revised JD decreases the value of

their Property and prevents them from exercising their livelihood on their Property.




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       66.    Plaintiffs are currently and continuously injured by the Corps’ unlawful

exercise of jurisdiction because they cannot conduct peat mining on their property

without fear of an enforcement action being brought against them. The Revised JD

increases the likelihood that Plaintiffs will be subject to an enforcement action should

they initiate these activities. Further, the Revised JD increases Plaintiffs’ potential civil

and criminal liability should they initiate these activities.

       67.    Plaintiffs are currently and continuously injured by the Revised JD because

it obligates them to go through the time consuming and expensive process of obtaining a

Section 404 permit from the Corps before conducting their proposed activities, and the

Corps has informed Plaintiffs in its correspondence of the substantial and expensive area

wide research projects that it would require of Plaintiffs’ in an effort to obtain a Section

404 permit from the Corps.

       68.    Plaintiffs are, therefore, entitled to a declaratory judgment declaring that the

Revised JD is invalid and that the Corps does not have jurisdiction over the Property

pursuant to the CWA.

                                  PRAYER FOR RELIEF

       Wherefore, Plaintiffs pray for judgment as follows:

       1.     A declaration that Plaintiffs’ Property is not subject to the CWA;

       2.     A    declaration    that   Defendant’s     Revised   Approved    Jurisdictional

Determination is invalid;

       3.     An injunction enjoining Defendant from exercising jurisdiction over

Plaintiffs’ Property;


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         4.     An award of attorney’s fees, to the extent allowed by law pursuant to 28

U.S.C. §2412(d)(1)(A), together with expenses, and costs; and,

         5.     For any such other and further relief that the Court deems proper under the

circumstances of this case.

         DATED: January 11, 2013.
                                           Respectfully submitted,

                                           GRAY, PLANT, MOOTY,
                                            MOOTY & BENNETT, P.A.


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